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15
                            IN THE UNITED STATES DISTRICT COURT
16
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
17

18
     UNITED STATES OF AMERICA,                       Case No. 3:20-CR-00249-RS (LBx)
19
                      Plaintiff,                     DEFENDANT ROWLAND MARCUS
20                                                   ANDRADE’S OPPOSITION TO
           v.                                        GOVERNMENT’S MOTION TO
21                                                   EXCLUDE TESTIMONY OF ERIK
     ROWLAND MARCUS ANDRADE,                         MIN
22
                      Defendant.                     Judge:   Hon. Richard Seeborg
23                                                   Dept.:   Courtroom 3 – 17th Floor

24                                                   Date:    TBD
                                                     Time:    TBD
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 1            Defense expert Erik Min is a well-qualified expert, addressing a relevant subject beyond

 2   the competence of most jurors – the state of AML Bitcoin’s technology 1; he was disclosed on the

 3   date disclosures were due; and the seven-page disclosure of his conclusions is fulsome. With one

 4   already-resolved possible exception, the government’s objections to the testimony of defense

 5   expert Erik Min have no merit whatsoever.

 6                   I.     MR. MIN’S PROFFERED TESTIMONY

 7            Erik Min is the Senior Director of the Blockchain & Digital Assets Practice at FTI

 8   Consulting, Inc., and has over 20 years of investigative and advisory experience across

 9   cryptocurrency, blockchain technologies, and other topics. He holds numerous blockchain and

10   cryptocurrency certifications through the Blockchain Council, including as a Certified Bitcoin

11   Expert, Certified Blockchain Expert, and Certified Blockchain Developer, and is certified as a

12   Crypto Research and Investigations Specialist by Crystal Intelligence, a Certified Investigator by

13   TRM Labs, and an EnCase Certified Examiner.

14            In response to government accusations that Mr. Andrade and others “misrepresented the

15   state of development of the [AML Bitcoin] technology and the viability and timeline for the final

16   release of the functional AML Bitcoin cryptocurrency,” Indictment, ECF No. 1, at 4, Mr. Min

17   used all the records currently available to examine the development of AML Bitcoin’s

18   technology. In addition to educating the jury about blockchain technology generally, the specific

19   blockchain technology and other applications developed in connection with the AML Bitcoin

20   cryptocurrency, and the architecture of AML Bitcoin, Mr. Min will report the conclusions from

21   his examination, while also describing the limitations in the data currently available.

22            Among the more significant conclusions in his disclosure (attached for the Court’s

23   convenience as Exhibit A), are (1) that there was substantial and consistent development of the

24   underlying verification software (and associated web and mobile applications) between March

25   2017 and November 2018 (a period that is the focus of the government’s case); (2) that the

26   significant amount, quality, and sophisticated work on source code during this period reflects the

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      As noted in his disclosure, in the event the Court allows the government’s proffered Rule 404(b)
28   evidence about AtenCoin, he is also expected to address the state of the AtenCoin technology.
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 1   work of intelligent and qualified developers over at least several months, if not a year or more,

 2   prior to late 2018, and at least 18–24 months; (3) that work on establishing a custom software

 3   package to connect the CrossVerify technology [AML Bitcoin’s biometric identification] with a

 4   mobile application interface began as early as March 16, 2017, and continued through at least

 5   May 2018; in addition to other records suggesting it was created (at least initially); (4) that

 6   development of CrossVerify’s web-based application began as early as March 21, 2018, with

 7   testing of CrossVerify’s ability to collect and store “know-your-customer”(“KYC”) data

 8   beginning as early as April 2018; (5) that based on the available data, AML Bitcoin technology

 9   was either substantially close or fully functional by the end of the project; and (6) that the

10   development of the software was poorly managed, including an atypical number of development

11   teams, missing documentation of key management functions, development protocols, architecture

12   of the platform, and server management.

13          Needless to say, Mr. Min’s testimony will not be presented in a vacuum. Rather, it will be

14   accompanied by other evidence of what Mr. Andrade was told about the state of the technology at

15   various times. Together with that evidence, Mr. Min’s testimony will provide facts and context

16   from which the jury can infer that any statements Mr. Andrade made about the state of AML

17   Bitcoin’s technology were made in good faith.

18                  II.     THE GOVERNMENT’S COMPLAINTS ABOUT MR. MIN’S

19                          TESTIMONY ARE MERITLESS

20          The government makes complaints about process and complaints about the substance of

21   Mr. Min’s testimony. None come close to justifying the government’s motion, and nearly all of

22   them fail to withstand even the slightest scrutiny.

23          Complaints about process. The government repeatedly complains that Mr. Andrade

24   “should have made a proper expert disclosure long ago” and lumps this together with other

25   claimed improprieties, see, e.g., Gv’t Motion at 3:4, 18-20 but provides no basis for the assertion

26   that Mr. Andrade’s disclosure was belated, other than that Mr. Min must have been working for a

27   while. Mr. Min was disclosed on the date disclosures were required. No government experts

28   were disclosed before the government’s disclosures were due. Although those facts alone should
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 1   be more than enough to dismiss the government’s complaint, Mr. Min did not finish his work

 2   until just before he was disclosed, making it especially unjustified to claim he should have been

 3   disclosed earlier – at a time the defense did not have his final conclusions. 2

 4            And when the government filed this Motion and noted the lack of production of the data

 5   on which Mr. Min relied, Mr. Andrade promptly produced the data. Had the government called

 6   after Mr. Min was disclosed and asked for the data – as the defense has done in response to

 7   delayed production of court-ordered material -- the production could have been promptly made.

 8   Its Motion fails to offer any harm it suffered during that short period, and does not even claim to

 9   have enlisted an expert to review any of the data.

10            Substantive complaint. The government’s sole substantive complaint about Mr. Min’s

11   proffered testimony is based on a claim that all Mr. Min is going to say is that “the project was

12   ‘substantially close or fully developed’” in or around April 2020. Gv’t Motion 6:2-3. 3 As a result,

13   says the government, Min’s testimony is nothing more than saying that purchasers of the coin

14   would eventually be repaid, and is therefore irrelevant and impermissible. Gv’t Motion at 6:7:7-

15   14. But the only way to say so is to pretend that one or two lines in seven pages of disclosures is

16   the entirety of Mr. Min’s testimony. Mr. Min’s testimony shows that good people were doing

17   good work throughout the period of the indictment, which (together with other evidence) provides

18   context and basis on which the jury can infer Mr. Andrade’s good faith. The government has no

19   argument that the rest of Mr. Min’s testimony, or his testimony taken as a whole, is in any way

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       The tone of the government’s baseless complaints suggests concern that at this point it lacks
21   time to engage its own technology expert. But when it objected to the defense’s disclosure of
     Kathy Johnson (the response to which is being filed separately), the government wrote that
22   “certainly in this case it is reasonable to expect that Mr. Andrade and his counsel would
     understand the need for expert testimony” to explain Ms. Andrade’s financial transactions to the
23   jury. ECF 462 at 4:16. Whether that is true or not for a party without the burden of proof, it is
     unquestionably true of the government and the need to retain an expert to explain the state of Mr.
24   Andrade’s technology, given its burden to prove its allegations, which include lies about the state
     of the technology, beyond a reasonable doubt. That it did not do so over the four and half years
25   since it indicted this case is no basis to complain about timely defense disclosures.
     3
       The government adds that April 20 is “more than 18 months after the fraud scheme as charged
26   ended.” Gv’t Motion 6:3. This is a misstatement of the indictment, which alleges that the scheme
     continued “through a date unknown to the grand jury, but to at least December 2018” (emphasis
27   added). The government appears to choose its end date to suit: in its Motion to Admit Co-
     Conspirator Statements, the government chose a different end date, this time March 2019. ECF
28   449 at 10:14.
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 1   irrelevant.

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 4   Dated: January 18, 2025                  KING & SPALDING LLP
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 6                                            By:/s/
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 7                                                KERRIE C. DENT
 8
                                                 Attorneys for Defendant
 9                                               ROWLAND MARCUS ANDRADE
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